Case 2:05-cv-02299-.]DB-dkv Document 4 Filed 08/15/05 Page 1 of 3 Page|D 4

Fll.ED B¥ m -' D,c_

IN THE UNITED sTATEs DIsTRICT COURT §

FOR THE wEsTERN DISTRICT oF TENNESSEE 55 AUG '5 AHH: 3'
wEsTERN DIvISION

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W./G o?-` l \#Oiggum

 

 

KAVIN M. CARTER,
Appellant,

Vs. NO. 05-2299-B/V
Bankruptcy No. 04-28972-JDL
CITIFINANCIAL MORTGAGE CO. ,

et al.,

Appellee.

><>-<>'<>-<>-<><>-<><>-<><>-<>-<

 

ORDER OF DI SMI SSAL

 

On April 6, 2005, Kavin M. Carter filed a pro §§ notice
of appeal with the United States Bankruptcy Court for the Western
District of Tennessee in connection with an order issued on March
24, 2005 in this adversary proceeding, Bankruptcy Case. No. 04~
28972-JDL. The appeal was docketed in this Court on April 22, 2005.
On May 27, 2005, the Clerk issued a scheduling order that required,
ig;§; glig, Carter to serve and file a brief within fifteen (15)
days. The time set by the scheduling order has passed, and Carter

has neither filed a brief nor requested an extension of time in

Thls document entered on the docket sheet in compliance
with Ru|e 58 and/or 79(a) FRCP on ' ’

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which to do so. Accordingly, the Court DISMISSES the appeal with
prejudice, pursuant to Fed. R. Civx P. 4l(b), for failure to

prosecute.

IT Is so 0RDERED this [J§B` day of August, 2005.

 

. D IEL BREEN \
IT D sTATEs DISTRICT JUDGE

 

Notice of Distribution

ThiS notice confirms a copy cf the document docketed as number 4 in
case 2:05-CV-02299 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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chorable J. Breen
US DISTRICT COURT

